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                           FOLLETT HIGHER EDUCATION GROUP,
                       8
                           LLC (fka Follett Higher Ed Group, Ltd.)
                       9
                           (Additional Counsel of record on next page)
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                      11
                                               UNITED STATES DISTRICT COURT
                      12
                                             CENTRAL DISTRICT OF CALIFORNIA
                      13

                      14   AARICA BRITTANY, an individual,               Case No. 2:23-cv-06598−KK−AS
                      15                  Plaintiff,                     Assigned to Hon. Kenly Kiya Kato
                      16
                                 vs.                                     CLASS ACTION
                      17
                           FOLLETT HIGHER EDUCATION
                      18                                               JOINT STATUS REPORT
                           GROUP, LLC; FOLLETT HIGHER ED
                      19   GROUP, LTD; and DOES 1 through 20,
                           inclusive,
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                      21
                                          Defendants.

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VEDDER PRICE (CA), LLP
   ATTORNEYS AT LAW

                                                        JOINT STATUS REPORT
      LOS ANGELES
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                       7   Facsimile: (949) 379-6251
                       8   Attorneys for Plaintiff Aarica Brittany,
                           Individually and on behalf of all others similarly situated
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VEDDER PRICE (CA), LLP
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                                                          JOINT STATUS REPORT
      LOS ANGELES
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                       1          Pursuant to the Court's Order on May 17, 2024 (Doc. 28) and December 4,
                       2   2024 (Doc. 30), Plaintiff Aarica Brittany (“Plaintiff”) and Defendant Follett Higher
                       3   Education Group, LLC (“Defendant”) (collectively, the “Parties”) hereby submit this
                       4   Joint Status Report.
                       5          The Parties executed a class and representative PAGA settlement in May of
                       6   2024. On May 17, 2024, this Court granted the Parties’ stipulation to stay this action
                       7   while the Parties obtain approval of the settlement in California state court. On June
                       8   11, 2024, Plaintiff filed a Motion for Preliminary Approval in state court, which was
                       9   granted on August 29, 2024. The hearing on Plaintiff’s Motion for Final Approval is
                      10   currently set for February 5, 2025, at 9:00 a.m.
                      11          Once the state court grants final approval and the judgment becomes final
                      12   (which is defined as 61 days after notice of entry of final judgment is served if no
                      13   appeal is taken), Defendant will have 10 business days to fund the settlement and the
                      14   Settlement Administrator will then have 15 days to distribute the settlement funds.
                      15   Pursuant to the Parties’ stipulation to stay this action, Plaintiff will request a dismissal
                      16   of this action within 7 days after the judgment becomes final. If the state court grants
                      17   final approval at the February 5, 2025 hearing, and no appeals are filed, Plaintiff
                      18   expects that dismissal of this case will occur by April 14, 2024.
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                            Dated:        December 5, 2024               VEDDER PRICE (CA), LLP

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                      22                                                 By: /s/ Thomas H. Petrides
                                                                            Thomas H. Petrides
                      23
                                                                            Lauren Wertheimer
                      24
                                                                            Attorneys for Defendant
                      25                                                    FOLLETT HIGHER EDUCATION
                      26                                                    GROUP, LLC (fka Follett Higher Ed
                                                                            Group, Ltd.)
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VEDDER PRICE (CA), LLP
   ATTORNEYS AT LAW

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      LOS ANGELES
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                       1    Dated:       December 5, 2024               AEGIS LAW FIRM, PC
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                       3
                                                                        By: /s/ Kristy R. Connolly
                       4                                                   Jessica L. Campbell
                       5
                                                                           Kristy R. Connolly
                                                                           Kashif Haque
                       6                                                   Samuel A. Wong
                       7                                                   Attorneys for Plaintiff
                       8                                                   AARICA BRITTANY
                       9
                                                             ATTESTATION
                      10
                                 Pursuant to Local Rule 5-4.3.4(a)(2)(i), the filer attests that all other
                      11
                           signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
                      12
                           content and have authorized the filing.
                      13

                      14    Dated:       December 5, 2024               AEGIS LAW FIRM, PC
                      15

                      16
                                                                        By: /s/ Kristy R. Connolly
                      17                                                   Jessica L. Campbell
                      18                                                   Kristy R. Connolly
                                                                           Kashif Haque
                      19                                                   Samuel A. Wong
                      20
                                                                           Attorneys for Plaintiff
                      21                                                   AARICA BRITTANY
                      22

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VEDDER PRICE (CA), LLP
   ATTORNEYS AT LAW

                                                          JOINT STATUS REPORT
      LOS ANGELES
